           Case 5:06-cv-01730-JW Document 5 Filed 03/13/06 Page 1 of 3




                              UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA

                                     RELATED CASE ORDER

        A Motion for Administrative Relief to Consider Whether Cases Should be Related or a
Sua Sponte Judicial Referral for Purpose of Determining Relationship (Civil L.R. 3-12) has been
filed. The time for filing an opposition or statement of support has passed. As the judge
assigned to the earliest filed case below that bears my initials, I find that the more recently filed
case(s) that I have initialed below are related to the case assigned to me, and such case(s) shall
be reassigned to me. Any cases listed below that are not related to the case assigned to me are
referred to the judge assigned to the next-earliest filed case for a related case determination.

 C 06-01407 RS           Madrigal et al v. The County of Monterey et al

 C 06-01730 JF           Melendez et al v. Board of Supervisors of the County of Monterey et al
                 I find that the above case is related to the case assigned to me. ____X_____


                                                ORDER

        Counsel are instructed that all future filings in any reassigned case are to bear the initials
of the newly assigned judge immediately after the case number. Any case management
conference in any reassigned case will be rescheduled by the Court. The parties shall adjust the
dates for the conference, disclosures and report required by FRCivP 16 and 26 accordingly.
Unless otherwise ordered, any dates for hearing noticed motions are vacated and must be re-
noticed by the moving party before the newly assigned judge; any deadlines set by the ADR
Local Rules remain in effect; and any deadlines established in a case management order continue
to govern, except dates for appearance in court, which will be rescheduled by the newly assigned
judge.




 Dated:___3/13/06_____________
                                 Judge Richard Seeborg




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                                  CLERK’S NOTICE

       The court has reviewed the motion and determined that no cases are related and no
reassignments shall occur.

                                                       Richard W. Wieking, Clerk


DATED: _______________________                        By:
                                                             Deputy Clerk




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                                              CERTIFICATE OF SERVICE

        I certify that on the date stated below, I lodged a copy of this order with each judicial
officer and I mailed a copy to each counsel of record or pro se party in the cases listed above.

                                                                Richard W. Wieking, Clerk


DATED: ____3/13/06___________                                   By:
                                                                 Deputy Clerk




Copies to: Courtroom Deputies
            Case Systems Administrators
            Counsel of Record
Entered into Assignment Program:          (date)




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